     Case 4:19-cv-07123-PJH Document 110 Filed 07/15/20 Page 1 of 10




 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone:    (213) 443-4355
 5   Facsimile:    (213) 443-4310

 6   Attorneys for Defendants NSO GROUP TECHNOLOGIES
     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              REPLY IN SUPPORT OF DEFENDANTS
                                               NSO GROUP TECHNOLOGIES
13               Plaintiffs,                   LIMITED AND Q CYBER
                                               TECHNOLOGIES LIMITED’S MOTION
14         v.                                  TO DISMISS PLAINTIFFS’ REQUEST
                                               FOR INJUNCTIVE RELIEF
15   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,         Date: Under Submission
16                                             Ctrm: 3
                 Defendants.                   Judge: Hon. Phyllis J. Hamilton
17

18                                             Action Filed: 10/29/2019
19

20

21

22

23

24

25

26

27

28
      REPLY IN SUPPORT OF DEFENDANTS’                               Case No. 4:19-cv-07123-PJH
      MOTION TO DISMISS INJUNCTIVE
      RELIEF
      Case 4:19-cv-07123-PJH Document 110 Filed 07/15/20 Page 2 of 10




 1   I.       INTRODUCTION
 2            Plaintiffs lack standing to seek an injunction because there are no facts to establish that
 3   Plaintiffs face any “imminent” or “certainly impending” harm from NSO. Clapper v. Amnesty Int’l
 4   USA, 568 U.S. 398, 408 (2013). Their opposition confirms that their request for injunctive relief
 5 is both based on pure speculation and untethered to any allegation in the Complaint. Plaintiffs

 6 concede that they “stopped” the “one particular attack” that gives rise to their claims and which,

 7 according to Plaintiffs’ allegations, occurred in April and May 2019. (Opp. 3.) Plaintiffs do not

 8   dispute that they have not identified any instance where NSO allegedly targeted Plaintiffs’ servers
 9 before that time, nor have they made any allegation or identified any evidence that NSO attempted
10 to target their servers since then. Plaintiffs agree that Pegasus can no longer be used on

11 WhatsApp’s servers, and they do not contest that they have not alleged or identified any technology

12 that NSO has or is developing that could replace Pegasus.

13            In place of facts, Plaintiffs substitute conjecture. They speculate, based on NSO’s alleged
14 business model and marketing statements unrelated to Plaintiffs, that NSO may someday in the

15 future try to target WhatsApp again. (Opp. 6.) But such guesswork falls far short of the

16 individualized showing of future harm needed for an injunction. Nor does it suffice to allege a

17 single past harm. (Opp. 7.) Plaintiffs must instead make a concrete showing that NSO either has

18 or is developing the means to harm Plaintiffs in the imminent future. Plaintiffs do not even attempt

19 that showing. Plaintiffs therefore lack “Article III standing to seek an injunction as a remedy for

20 the claim arising out of [past] events,” and the equitable remedy of an injunction “is unavailable

21 absent a showing of irreparable injury, a requirement that cannot be met where there is no showing

22 of any real or immediate threat that the plaintiff will be wronged again—a ‘likelihood of substantial

23 and immediate irreparable injury.’” City of Los Angeles v. Lyons, 461 U.S. 95, 111 (1983) (quoting

24 O'Shea v. Littleton, 414 U.S., 488, 502 (1974) (“Respondents have failed, moreover, to establish

25 the basic requisites of the issuance of equitable relief in these circumstances,” including “the

26 likelihood of substantial and immediate irreparable injury . . . .”).

27            Plaintiffs’ other arguments are even weaker. They argue first that because NSO is
28 defending itself in this lawsuit, it will repeat the misconduct alleged by Plaintiffs. (Opp. 9.) But

          REPLY IN SUPPORT OF MOTION TO                                         Case No. 4:19-cv-07123-PJH
          DISMISS INJUNCTIVE RELIEF
      Case 4:19-cv-07123-PJH Document 110 Filed 07/15/20 Page 3 of 10




 1   that argument would punish NSO for exercising its due process right to defend itself in court. A

 2   defendant’s choice to contest false allegations of past misconduct does not support a conclusion

 3 that it will commit misconduct in the future. Second, Plaintiffs argue that they should get a thumb

 4 on the scale in favor of an injunction because of their size. (Opp. 11.) But there is no “too-big-to-

 5 fail” exception in Article III. Plaintiffs must satisfy the same standing requirements as any other

 6 litigant. If anything, Plaintiffs’ resources make it all the more important that this Court enforce

 7 the boundaries of its jurisdiction. Otherwise, Plaintiffs will continue to use their limitless coffers

 8 to abuse the federal courts as a weapon against perceived rivals.
 9 II.      PLAINTIFFS CONCEDE THE CONDUCT CHALLENGED IN THE
            COMPLAINT HAS ENDED, AND THEY HAVE NO ALLEGATIONS OR
10          EVIDENCE THAT SIMILAR CONDUCT WILL BE REPEATED
11          The most important aspect of Plaintiffs’ opposition is what they do not dispute. They do

12 not dispute that their claims arise out of allegations of NSO’s alleged use of a “spyware program

13 to target approximately 1,400 devices” in April and May 2019. (Opp. 3.) Plaintiffs agree that they

14 “closed [the] vulnerability” NSO allegedly exploited, which “stopped” the “one particular attack”

15 described in the Complaint. (Id.) And they do not claim that NSO has any repeat practice of

16 targeting Plaintiffs’ servers. They do not claim that NSO targeted their servers before April 2019

17 or has done so after May 2019. Given Plaintiffs’ claimed ability to tie the alleged 2019 conduct

18 to NSO, they would surely inform the Court if any other similar conduct has occurred. Their
19 failure to allege that NSO ever repeated its alleged conduct must be taken as an admission that

20 there is no such evidence.

21          As NSO explained in its motion, Plaintiffs’ concessions on these points doom their request

22 for injunctive relief. (Mot. 5-7.) To seek an injunction, Plaintiffs must allege sufficient facts to

23 show that some “threatened injury is certainly impending.” Munns v. Kerry, 782 F.3d 402, 409

24 (9th Cir. 2015) (quoting Clapper, 568 U.S. at 409). But Plaintiffs cannot make that showing

25 without allegations or evidence that NSO, despite its inability to use the only alleged “spyware

26 program” described in the Complaint (Opp. 3), has the means to use some other technology against

27 Plaintiffs in the near future. Plaintiffs misrepresent NSO’s correct statement of the law by claiming

28 that it amounts to a requirement that they allege a future use “of the exact same spyware or
       DEFENDANTS’ MOTION TO STAY                     2                        Case No. 4:19-cv-07123-PJH
       DISCOVERY
         Case 4:19-cv-07123-PJH Document 110 Filed 07/15/20 Page 4 of 10




 1   exploitation of the exact same vulnerability.” (Opp. 8.) What the law actually would require them

 2   to allege, at a minimum, is the existence of some spyware or some vulnerability that NSO is likely

 3   to develop or use against Plaintiffs in the imminent future.

 4            Plaintiffs cannot make even that modest showing. Instead, (Opp. 8) they speculate that an

 5   NSO employee’s alleged remark that Plaintiffs “closed our biggest remote for cellular” (Compl.

 6   ¶ 45) means that some other, smaller vulnerability exists in Plaintiffs’ services. But that statement

 7   does not say that any other WhatsApp vulnerability exists. The most plausible reading is that—

 8   due to “the sheer scale of Plaintiffs’ platforms” (Opp. 11)—the WhatsApp vulnerability described

 9   in the complaint was bigger than vulnerabilities in services other than WhatsApp. In any event,

10   Plaintiffs’ imaginative reading of a single ambiguous statement cannot substitute for actual

11   allegations or evidence that NSO has any present means to access WhatsApp’s servers. Plaintiffs

12   do not offer any such allegations or evidence.

13            Perhaps recognizing this failure, Plaintiffs argue that NSO’s alleged one-time access to

14   WhatsApp’s servers alone justifies an injunction. (Opp. 7-8.) That argument is contrary to all

15   existing law. As the Supreme Court held decades ago, “[p]ast wrongs do not in themselves amount

16   to that real and immediate threat of injury necessary to make out a case or controversy.” City of

17   Los Angeles v. Lyons, 461 U.S. 95, 103 (1983). As a result, “past exposure to harm is largely

18   irrelevant when analyzing claims of standing for injunctive relief.” Nelsen v. King Cty., 895 F.2d

19   1248, 1251 (9th Cir. 1990) (emphasis added). Plaintiffs thus cannot seek an injunction solely

20   based on allegations “that NSO has already deliberately identified and aggressively exploited a

21   vulnerability.” (Opp. 7.) Bates v. UPS, Inc., 511 F.3d 974 (2007) (en banc), cited by Plaintiffs,

22 does not hold otherwise. Although that case acknowledged that “past wrongs are evidence,” it still

23 required a “real and immediate threat of repeated injury” beyond the “past wrongs . . . themselves.”

24   Id. at 985 (cleaned up). The court in Bates ultimately found standing because the plaintiff was

25   challenging a “written policy” that the defendant continued to enforce. Id. at 986. Here, in

26   contrast, Plaintiffs do not allege that NSO is now engaging in any unlawful actions against them. 1

27
     1
       Plaintiffs say, without reference to any paragraph of the Complaint, they have alleged that NSO
28   “intends to [hack Plaintiffs’ servers] again.” (Opp. 6.) That is false. The Complaint is entirely
        DEFENDANTS’ MOTION TO STAY                     3                       Case No. 4:19-cv-07123-PJH
          DISCOVERY
         Case 4:19-cv-07123-PJH Document 110 Filed 07/15/20 Page 5 of 10




 1   The Court should grant NSO’s motion because a single alleged instance of past harm cannot

 2   support an injunction. Lyons, 461 U.S. at 105; see Munns, 782 F.3d at 411–12 (“Despite being

 3   harmed in the past, the [plaintiffs] must still show that the threat of injury in the future is ‘certainly

 4 impending’ or that it presents a ‘substantial risk’ of recurrence for the court to hear their claim for

 5 prospective relief.”).

 6 III.       PLAINTIFFS’ SPECULATION ABOUT NSO’S BUSINESS CANNOT SUPPORT
              AN INJUNCTION
 7

 8            In the absence of any concrete risk of imminent harm, Plaintiffs rely instead on speculation

 9 based on incomplete, isolated statements in NSO’s alleged marketing materials. (Opp. 6-7.) But

10   those materials do not reveal any ongoing or imminent attempt by NSO to access Plaintiffs’

11   servers. These vague marketing statements do not reflect any conduct by NSO, let alone conduct

12   targeting Plaintiffs.

13            The core of Plaintiffs’ misguided argument is their claim that “NSO is in the business of

14   discovering and exploiting vulnerabilities like the one that Plaintiffs closed.” (Opp. 6.) Set aside

15   that Plaintiffs here again concede that they have closed the only alleged vulnerability in WhatsApp.

16   A general description of NSO’s alleged business model is not an “individualized showing that
                                                                                                         2
17 there is ‘a very significant possibility’ that the future harm will ensue.” Nelsen, 895 F.2d at 1250.

18   If it were, every technology company in the United States could sue companies like NSO and seek

19   injunctive relief, arguing that the “very business model” (Opp. 7) creates a risk of future hacking.

20   Article III requires more, and the one case Plaintiffs cite is not to the contrary. Craigslist, Inc. v.

21   Kerbel, 2012 WL 3166798 (N.D. Cal. Aug. 2, 2012). For starters, Kerbel did not analyze standing

22   at all, so it is entirely irrelevant. But even if it had addressed standing, the defendant in Kerbal

23   was actively operating a website that sold tools “designed to enable illegitimate uses of craigslist,”

24 and had continued to do so “despite receiving multiple cease and desist letters from craigslist.” Id.

25 at *2. The court thus did not grant an injunction because of the defendant’s “business model”

26
     backward-looking; it does not allege anything about NSO’s future intentions.
27   2
       Even when Plaintiffs quote their allegations about NSO’s business model, they are all in the past
28   tense. (Opp. 6.) The Complaint says nothing about NSO’s present or future conduct.
          DEFENDANTS’ MOTION TO STAY                     4                          Case No. 4:19-cv-07123-PJH
          DISCOVERY
      Case 4:19-cv-07123-PJH Document 110 Filed 07/15/20 Page 6 of 10




 1   (Opp. 7), but because the defendant was actively committing the challenged acts. Id. at *16. Here,

 2   in contrast, Plaintiffs have no allegations or evidence that NSO is currently targeting Plaintiffs or

 3   selling technology allowing others to do so. (Mot. 5-7.) 3

 4          This gap in Plaintiffs’ allegations is not filled by the alleged NSO statements they cite.

 5   Plaintiffs cite two statements—one a press release from a third party (Compl. Exh. 4), the other a

 6   one-page screenshot from NSO’s website (Compl. Exh. 8)—but they both contain the same

 7   innocuous language: NSO allegedly claims its technologies “evolve to keep pace” with “the ever-

 8   changing cyber world.” (Opp. 8.) 4 Those vague marketing buzzwords do not explain what

 9 “changes” in the “cyber world” are being addressed or what any “evolutions” would entail. They

10 do not say that NSO tries to find new WhatsApp vulnerabilities when previous WhatsApp

11 vulnerabilities are closed. They certainly do not claim that NSO has discovered, is trying to

12 discover, or will discover a new vulnerability in Plaintiffs’ servers after Plaintiffs eliminated the

13 old one. They do not even mention Plaintiffs at all. 5 Vague marketing statements that are not

14   about Plaintiffs’ services cannot possibly show an “individualized”—that is, specific to

15   Plaintiffs—risk of imminent harm. Nelsen, 895 F.2d at 1250-52. 6

16          The Supreme Court’s decision in Clapper forecloses Plaintiffs’ reliance on such general

17

18
   3
     Plaintiffs reference “NSO’s ongoing efforts to seek a way to attack Plaintiffs” (Opp. 6), but they
19 cite no allegations or evidence of any such “ongoing efforts.” The alleged “probing [of] Plaintiffs’

20 servers and software” and “selling products designed to exploit them” all occurred in the past and
   are not alleged to be ongoing. (Id.)
21 4 Plaintiffs also cite a brochure related to Pegasus. (Compl. Exh. 10.) But Plaintiffs concede that
   they closed the vulnerability allegedly exploited by Pegasus, such that Pegasus can no longer be
22
   used on WhatsApp’s servers. Their arguments in favor of an injunction rely on a prediction that
23 NSO will create a new technology, other than Pegasus, to target Plaintiffs. Documents about
   Pegasus thus show no risk of future injury to Plaintiffs.
24 5
     The only document Plaintiffs cite that mentions Plaintiffs is the Pegasus brochure (Opp. 11),
25 which   is irrelevant to future injury (supra n.4).
   6
      Plaintiffs’ own marketing materials say that WhatsApp “messages, photos, videos, voice
26 messages, documents, and calls are secured from falling into the wrong hands,” so “third parties

27 can’t read them.” https://www.whatsapp.com/security/. If marketing materials were relevant to
   standing, then Plaintiffs’ own marketing materials would suggest that there is no known risk of
28 future harm.
       DEFENDANTS’ MOTION TO STAY                      5                        Case No. 4:19-cv-07123-PJH
       DISCOVERY
      Case 4:19-cv-07123-PJH Document 110 Filed 07/15/20 Page 7 of 10




 1   marketing statements. The plaintiffs in Clapper challenged a government program authorizing

 2   warrantless surveillance of individuals “reasonably believed to be a member or agent of al Qaeda

 3   or an affiliated terrorist organization.” 568 U.S. at 403. The plaintiffs were U.S. citizens who

 4   regularly communicated with “likely targets of surveillance” under the challenged program. Id. at

 5 406. They wrongly claimed standing because, given the program’s purpose and their clients’

 6 identities, there was an “objectively reasonable likelihood that their communications will be

 7 intercepted at some time in the future.” Id. at 407. The Supreme Court rejected that argument,

 8 holding that an “objectively reasonable likelihood” of harm does not establish standing. Id. at 410.
 9   And it held that the plaintiffs’ arguments based on the purpose of the government program and

10   their clients’ identities could not show the necessary “certainly impending” injury. Id. at 410–11.

11   Instead, the plaintiffs would need to offer “specific facts demonstrating that the communications

12   of their foreign contacts will be targeted.” Id. at 412 (emphasis added).

13           As in Clapper, Plaintiffs rely on general assertions about the nature of NSO’s alleged

14   surveillance business without any allegations or evidence that Plaintiffs’ servers “will be targeted.”

15   Id. Even if NSO’s marketing materials were read as Plaintiffs implausibly prefer – to show a

16   “reasonable likelihood” that some technology company could be targeted “at some time in the

17   future,” Id. at 407, there is no evidence that Plaintiffs would be the target. Plaintiffs’ assertion that

18   they might be targeted again is not sufficient to confer standing for a prospective injunction. Id.

19   at 410. It does not show a risk of harm that is “imminent,” Munn, 782 F.3d at 410. And it does

20   not show an “individualized” risk to Plaintiffs. Nelsen, 895 F.2d at 1250.

21           Plaintiffs contend that they are a likely target because of the “sheer scale of [their]

22   platforms and users.” (Opp. 11.) But that sort of “probabilistic” reasoning—that Plaintiffs may

23   be more likely targets than other, smaller companies—has no place in the standing analysis.

24   Nelsen, 895 F.2d at 1250. For one thing, it is inconsistent with Plaintiffs’ allegations. Facebook is

25   huge, but Plaintiffs do not claim that NSO has ever unlawfully accessed Facebook’s servers. Their

26   argument would allow standing without any particularized showing of harm.                  If Plaintiffs’

27   argument were deemed sufficient, then any large company could sue NSO and similar businesses

28   that support government agencies in law enforcement and national security investigations that
       DEFENDANTS’ MOTION TO STAY                        6                         Case No. 4:19-cv-07123-PJH
       DISCOVERY
      Case 4:19-cv-07123-PJH Document 110 Filed 07/15/20 Page 8 of 10




 1   require access to electronic data, based on nothing more than its unsubstantiated fear that a

 2 company’s size makes it a “prominent target for . . . exploits.” (Opp. 11.) But – given that

 3   Facebook has not quite achieved a complete monopoly over social media – how big is big enough

 4   to create fact-free standing? And if a company falls below Plaintiffs’ unstated size cutoff, does it

 5   still need to meet the traditional constitutional standard and introduce credible evidence of

 6   potential future harm? These questions illustrate why a plaintiff may not create standing merely

 7 by arguing, as Plaintiffs do, “that the general circumstances . . . may produce future harm.” Nelsen,

 8   895 F.2d at 1250.

 9          Finally, Plaintiffs erroneously cite Tagged Inc. v. Does 1 through 10, 2010 WL 370331

10 (N.D. Cal. Jan. 25, 2010) (cited at Opp. 8-9), in support of their standing claim. In Tagged Inc.,

11   the court entered a default judgment order without analyzing standing. Moreover, the defendant

12   had repeatedly “circumvented” multiple rounds of updated “security measures” to send spam to

13   the plaintiff’s users. Id. at *2. At first, the plaintiff had no defenses against the defendant’s

14   conduct. Id. at *1. After the defendant began sending spam, the plaintiff enacted two security

15 measures, each of which the defendant circumvented. Id. at *2. And the defendant maintained his

16   course of conduct until shortly before the plaintiff filed suit. Id. at *2-3. The injunction in Tagged

17 Inc. was thus based on the defendant’s ongoing conduct and repeat evasions of the plaintiff’s

18 security measures. Id. at *12. Here, in contrast, Plaintiffs allege that NSO exploited one
19 vulnerability, which Plaintiffs closed. (Opp. 3.) Unlike in Tagged Inc., they do not allege or

20 submit any evidence that NSO has circumvented Plaintiffs’ new security measures or made any

21 attempt to do so. Indeed, there is no claim that NSO engaged in any alleged misconduct involving

22 Plaintiffs since they closed the vulnerability.

23 IV.      NSO’S DEFENSE OF PLAINTIFFS’ LAWSUIT CANNOT SUPPORT AN
            INJUNCTION
24

25          Plaintiffs also ask this Court to punish NSO for exercising its right to defend itself against

26   Plaintiffs’ lawsuit. (Opp. 8.) Because NSO is defending itself, Plaintiffs claim that it must intend

27   to target Plaintiffs again in the future. By that reasoning, the mere fact that NSO disputes

28   Plaintiffs’ allegations creates cause for an injunction. But if that were true, an injunction could
       DEFENDANTS’ MOTION TO STAY                      7                         Case No. 4:19-cv-07123-PJH
       DISCOVERY
      Case 4:19-cv-07123-PJH Document 110 Filed 07/15/20 Page 9 of 10




 1   issue any time a defendant denies liability for alleged past conduct—in other words, in almost

 2   every federal lawsuit. That is not the law. The government in Clapper defended its conduct, but

 3   the Supreme Court still held that the plaintiffs lacked standing. See Amnesty Int’l USA v.

 4   McConnell, 646 F. Supp. 2d 633, 635 (S.D.N.Y. 2009) (district court decision in Clapper) (“The

 5   Government contends as a threshold matter that the plaintiffs lack standing to challenge the FAA.

 6   The Government also contends that the lawsuit lacks merit in any event because the FAA is

 7   constitutional on its face.”). Similarly, the Ninth Circuit denied standing in Munns despite “the

 8   government’s ongoing assertion that the policy [challenged by the plaintiff] was legal.” 782 F.3d

 9   at 410.

10             In an unsuccessful effort to bolster their claim, Plaintiffs persist in misrepresenting NSO’s

11   response to their lawsuit. NSO does not “stand[] by . . . unlawful hacking.” (Opp. 9.) NSO denies

12   that it committed any such “hacking.” (Dkt. No. 45 at 6-7.) Nor has NSO expressed any intent in

13   this lawsuit to “continue the challenged conduct” (Opp. 9), since NSO denies that it carried out the

14   challenged conduct in the first place (Dkt. No. 45 at 6-7). And while NSO does argue that it is

15   “immune from suit” (Opp. 9), doing so is its right as an agent of foreign sovereigns (Dkt. No. 62

16   at 10). States, police officers, prosecutors, and foreign entities all routinely claim immunity. E.g.,

17   Allen v. Cooper, 140 S. Ct. 994, 999 (2020) (sovereign immunity); Kisela v. Hughes, 138 S. Ct.

18   1148, 1152 (2018) (qualified immunity); Van de Kamp v. Goldstein, 555 U.S. 335, 340 (2009)

19   (prosecutorial immunity); OBB Personenverkehr AG v. Sachs, 136 S. Ct. 390, 393 (2015) (foreign

20   sovereign immunity). Doing so does not expose them to injunctive relief.

21             It is no wonder, then, that Plaintiffs do not cite a single case adopting their novel theory of

22   standing. None of the cases they cite (Opp. 9-10) imposed an injunction based on a party’s defense

23   of a lawsuit. Instead, they enjoined “present misconduct,” Orantes-Hernandez v. Thornburgh, 919

24   F.2d 549, 564 (9th Cir. 1990), or “continued” wrongful acts, Planned Parenthood Fed’n of Am.,

25   Inc. v. Ctr. for Med. Progress, 2020 WL 2065700, at *17 (N.D. Cal. Apr. 29, 2020); see also Doe

26   1 v. AOL LLC, 719 F. Supp. 2d 1102, 1109 (N.D. Cal. 2010) (finding standing because plaintiffs

27   alleged the defendant was “continu[ing]” its unlawful conduct); City & Cty. of S.F. v. Tutor-Saliba

28   Corp., 2005 WL 645389, at *1 (N.D. Cal. Mar. 17, 2005), at *15 (finding likelihood that defendant
       DEFENDANTS’ MOTION TO STAY                         8                        Case No. 4:19-cv-07123-PJH
       DISCOVERY
     Case 4:19-cv-07123-PJH Document 110 Filed 07/15/20 Page 10 of 10




 1   “will again bid for and obtain public works contracts” because it was actively bidding for a “current

 2   contract”). Plaintiffs, in contrast, have not alleged or identified any current or ongoing misconduct

 3   by NSO.

 4          In Facebook, Inc. v. Power Ventures, Inc., 252 F. Supp. 3d 765, 782-83 (N.D. Cal. 2017),

 5 the court found “it is very likely that Facebook will suffer irreparable harm again,” given that the

 6 defendants had “frequently exhibited bad faith conduct,” including by ignoring cease-and-desist

 7 letters and evading technological restrictions imposed after they began their alleged misconduct.

 8 In this case, there is no claim that NSO has engaged in bad faith conduct, repeated its alleged
 9 misconduct, or tried to circumvent Plaintiffs’ closure of WhatsApp’s vulnerability. Instead,

10   Plaintiffs offer only “allegations of possible future injury.” Munns, 782 F.3d at 409 (quoting

11   Clapper v. Amnesty Int'l USA, 568 U.S. at 409). Such a claim is “not sufficient” for an injunction.

12 Id.

13 V.       CONCLUSION

14          Plaintiffs’ request for an injunction amounts to a claim that because NSO allegedly targeted

15 WhatsApp one time in the past, it must be deemed likely to do so again in the near future. That is

16 not the test for standing. Plaintiffs want the Court to discard decades of precedent and hold that a

17 plaintiff may seek an injunction without any allegations or evidence of imminent future harm. The

18 Court should reject that request because Plaintiffs lack standing to seek injunctive relief.
19

20   DATED: July 15, 2020                              KING & SPALDING LLP
21
                                                       By: /s/ Joseph N. Akrotirianakis _________
22
                                                           JOSEPH N. AKROTIRIANAKIS
23                                                         AARON S. CRAIG
                                                           Attorneys for Defendants NSO GROUP
24                                                         TECHNOLOGIES LIMITED and Q
                                                           CYBER TECHNOLOGIES LIMITED
25

26

27

28
       DEFENDANTS’ MOTION TO STAY                      9                        Case No. 4:19-cv-07123-PJH
       DISCOVERY
